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                    EXHIBIT A
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                                CERTIFICATION PURSUANT TO
                               THE FEDERAL SECURITIES LAWS

           I, Michael W. Slaunwhite, hereby certify that, as to the claims asserted under the federal
   securities laws, that:

   1.     I have reviewed the facts and allegations of the CONSOLIDATED CLASS ACTION
          COMPLAINT and authorize its filing.

   2.     I did not purchase the securities that are the subject of this action at the direction of my
          counsel or in order to participate in any action under the federal securities laws.

   3.     I am willing to serve as a representative party on behalf of the Class, including giving
          testimony at deposition and trial, if necessary. I understand that this is not a claim form,
          and that my ability to share in any recovery as a member of the Class is not dependent upon
          execution of this Certification.

   4.     My transactions in Carnival Corporation and Carnival plc securities that are the subject of
          this action are attached in Schedule A. I have complete authority to bring a suit to recover
          for investment losses for all securities set forth in Schedule A.

   5.     During the three years prior to the date of this Certification, I sought to serve as a
          representative party on behalf of a class in the following action under the federal securities
          laws:

             Oregon Laborers Employers Pension Trust Fund v. Maxar Technologies Inc., et al.,
                               No. 1:19-cv-00124-WJM-SKC (D. Colo.)

   6.     I will not accept any payment for serving as a representative party on behalf of the Class
          beyond my pro rata share of any recovery, except such reasonable costs and expenses
          (including lost wages) directly relating to the representation of the Class, as ordered or
          approved by the Court.

          I declare under penalty of perjury under the laws of the United States of America that the
   foregoing is true and correct.

                    12/14/2020
   Executed on:
                                                         Michael W. Slaunwhite
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                                    SCHEDULE A

             Security    Buy/Sell      Date        Quantity       Price
             Com Stk       Buy       2/24/2020      5,000        $38.00
